                                  1   Jonathan Sanders (No. #228785)
                                      SIMPSON THACHER & BARTLETT LLP
                                  2   2475 Hanover Street
                                      Palo Alto, CA 94304
                                  3   Telephone: (650) 251-5000
                                      Facsimile: (650) 252-5002
                                  4
                                      Michael H. Torkin
                                  5   Nicholas Goldin
                                      Kathrine A. McLendon
                                  6   Jamie J. Fell
                                      SIMPSON THACHER & BARTLETT LLP
                                  7   425 Lexington Avenue
                                      New York, NY 10017
                                  8   Telephone: (212) 455-2000
                                      Facsimile: (212) 455-2502
                                  9
                                      Counsel for the Board of Each of PG&E Corporation and
                                 10   Pacific Gas and Electric Company and for Certain
                                      Current and Former Independent Directors
                                 11
Simpson Thacher & Bartlett LLP




                                                              UNITED STATES BANKRUPTCY COURT
                                 12                           NORTHERN DISTRICT OF CALIFORNIA
     New York, NY 10017
      425 Lexington Ave




                                 13                                SAN FRANCISCO DIVISION

                                 14
                                                                                      Bankruptcy Case
                                 15   In re:                                          No. 19-30088 (DM)

                                 16                                                   Chapter 11
                                      PG&E CORPORATION,
                                 17                                                   (Lead Case)
                                               - and –
                                 18                                                   (Jointly Administered)
                                      PACIFIC GAS AND ELECTRIC
                                 19   COMPANY,                                        SUMMARY SHEET TO FIRST INTERIM
                                                                                      APPLICATION OF SIMPSON THACHER
                                 20                                                   & BARTLETT LLP FOR ALLOWANCE
                                                                   Debtors.           AND PAYMENT OF COMPENSATION
                                 21                                                   AND REIMBURSEMENT OF EXPENSES
                                       Affects PG&E Corporation                      FOR THE PERIOD OF JANUARY 29, 2019
                                 22    Affects Pacific Gas and Electric Company      THROUGH APRIL 30, 2019
                                       Affects both Debtors
                                 23                                                    Date: September 25, 2019
                                                                                       Time: 9:30 am (Pacific Time)
                                      * All papers shall be filed in the Lead Case No. Place: United States Bankruptcy Court
                                 24
                                      19-30088 (DM).                                          Courtroom 17, 16th Floor
                                 25                                                           San Francisco, CA 94102

                                 26                                                   Objection Deadline: August 12, 2019 at 4:00
                                                                                      p.m. (Pacific Time)
                                 27

                                 28
                                      Case: 19-30088     Doc# 3157      Filed: 07/23/19   Entered: 07/23/19 16:36:20       Page 1 of
                                                                                    24
                                  1    General Information

                                  2
                                       Name of Applicant                           Simpson Thacher & Bartlett LLP
                                  3
                                                                                   Board of Each of PG&E Corporation and
                                  4                                                Pacific Gas and Electric Company and
                                       Name of Client                              Certain Current and Former Independent
                                  5                                                Directors

                                  6    Petition Date                               January 29, 2019

                                  7                                                May 10, 2019 nunc pro tunc to January 29,
                                       Retention Date                              2019
                                  8
                                       Summary of Fees and Expenses Sought in this Application
                                  9

                                 10    Time Period Covered by Application          January 29, 2019 – April 30, 20191
                                 11
                                       Amount of Compensation Sought as Actual,    $1,931,632.00
                                       Reasonable and Necessary
Simpson Thacher & Bartlett LLP




                                 12
                                       Amount of Compensation Sought Pursuant to $380,872.50
     New York, NY 10017




                                 13
      425 Lexington Ave




                                       Section 327(e)
                                 14
                                       Amount of Compensation Sought Pursuant to $1,550,759.50
                                 15    Section 363

                                 16    Amount of Expense Reimbursement Sought
                                       as Actual, Reasonable and Necessary         $750.82
                                 17    Pursuant to Section 327(e)

                                 18    Amount of Expense Reimbursement Sought
                                       as Actual, Reasonable and Necessary         $15,828.53
                                 19    Pursuant to Section 363

                                 20    Total Fees and Expenses Allowed Pursuant to Prior Applications
                                 21
                                       Total Allowed Compensation Paid to Date     N/A
                                 22
                                       Total Allowed Expenses Paid to Date         N/A
                                 23
                                       Total Fees and Expenses Paid to Applicant Pursuant to Monthly Statements but Not Yet
                                 24    Allowed
                                 25
                                       Compensation Sought in this Application     $0
                                 26    Already Paid Pursuant to the Interim
                                       Compensation Order but Not Yet Allowed
                                 27

                                 28                                               2

                                      Case: 19-30088    Doc# 3157     Filed: 07/23/19    Entered: 07/23/19 16:36:20     Page 2 of
                                                                                  24
                                  1       (80% of Fees in First Consolidated Monthly
                                          Fee Statement):
                                  2
                                          Expenses Sought in this Application Already
                                  3       Paid Pursuant to the Interim Compensation
                                          Order but Not Yet Allowed (100% of          $02
                                  4       Expenses in First Consolidated Monthly Fee
                                          Statement)
                                  5

                                  6       Summary of Total Fees and Expenses Sought in this Application

                                  7
                                          Total Compensation and Expenses Sought in
                                  8       this Application Already Paid Pursuant to the       $0
                                          Interim Compensation Order but Not Yet
                                  9       Allowed

                                 10       Total Compensation and Expenses Sought in
                                          this Application Not Yet Paid or Allowed            $1,948,211.35
                                 11
Simpson Thacher & Bartlett LLP




                                 12       Summary of Rates and Related Information
     New York, NY 10017




                                 13
      425 Lexington Ave




                                          Number of Timekeepers in this Application           31 (23 Attorneys, 8 Paraprofessionals)
                                 14
                                          Hours Billed by Timekeepers this
                                 15                                                           2,027.90
                                          Compensation Period
                                 16
                                          Blended Rate for Attorneys                          $969.00
                                 17
                                          Blended Rate for all Professionals                  $952.53
                                 18

                                 19
                                          This is a(n) __X__ Interim _____ Final Application
                                 20

                                 21
                                      1
                                        Pursuant to the Interim Compensation Order (as defined below), the initial interim compensation period was to
                                 22   include the period from the Petition Date (as defined below) through and including May 31, 2019. However, as of
                                      the date hereof, Simpson Thacher has not yet filed a Monthly Fee Statement (as defined below) for the calendar
                                 23   month of May 2019. Accordingly, the Compensation Period for this Application includes the period from the
                                      Petition Date through and including April 30, 2019. Fees and expenses incurred by Simpson Thacher for the month
                                 24   of May 2019 will be included in the next interim fee application.

                                 25   2
                                       The objection deadline with respect to Simpson Thacher’s First Consolidated Monthly Fee Statement (as defined
                                      herein) was July 19, 2019. The deadline has now passed without objection, and Simpson Thacher expects that the
                                 26   Debtors will promptly remit $1,545,305.60 in compensation for 80% of fees and $16,579.35 in reimbursement of
                                      100% of expenses.
                                 27

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                                      Case: 19-30088         Doc# 3157        Filed: 07/23/19       Entered: 07/23/19 16:36:20            Page 3 of
                                                                                          24
                                  1                                SUMMARY OF MONTHLY STATEMENTS

                                  2

                                  3
                                                              Total Compensation and       Total Amount Previously                            Holdback
                                                                                                                       Total Amount Paid to
                                                               Expenses Incurred for        Requested with Prior                                Fees
                                  4                                                                                           Date
                                        Date       Period         Period Covered            Monthly Fee Statement                             Requested
                                        Filed     Covered
                                  5
                                                                                              Fees         Expenses      Fees      Expenses    Fees (@
                                                                 Fees        Expenses
                                  6                                                         (@ 80%)       (@ 100%)     (@ 80%)    (@ 100%)      20%)

                                                  01/29/19
                                  7    June 28,
                                                      -      $1,931,632.00   $16,579.35   $1,545,305.60   $16,579.35     $0          $0       $386,326.40
                                         2019
                                                  04/30/19
                                  8

                                  9     Total                $1,931,632.00   $16,579.35   $1,545,305.60   $16,579.35     $0          $0       $386,326.40

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Simpson Thacher & Bartlett LLP




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     New York, NY 10017




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      425 Lexington Ave




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                                      Case: 19-30088         Doc# 3157        Filed: 07/23/19         Entered: 07/23/19 16:36:20          Page 4 of
                                                                                          24
                                  1   Jonathan Sanders (No. #228785)
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                                      Michael H. Torkin
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                                  6   Jamie J. Fell
                                      SIMPSON THACHER & BARTLETT LLP
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                                      New York, NY 10017
                                  8   Telephone: (212) 455-2000
                                      Facsimile: (212) 455-2502
                                  9
                                      Counsel for the Board of Each of PG&E Corporation and
                                 10   Pacific Gas and Electric Company and for Certain
                                      Current and Former Independent Directors
                                 11
                                                              UNITED STATES BANKRUPTCY COURT
Simpson Thacher & Bartlett LLP




                                 12                           NORTHERN DISTRICT OF CALIFORNIA
                                                                   SAN FRANCISCO DIVISION
     New York, NY 10017




                                 13
      425 Lexington Ave




                                 14
                                                                                      Bankruptcy Case
                                 15   In re:                                          No. 19-30088 (DM)

                                 16                                                   Chapter 11
                                      PG&E CORPORATION,
                                 17                                                   (Lead Case)
                                               - and –
                                 18                                                   (Jointly Administered)
                                      PACIFIC GAS AND ELECTRIC
                                 19   COMPANY,                                        FIRST INTERIM APPLICATION OF
                                                                                      SIMPSON THACHER & BARTLETT LLP
                                 20                                                   FOR ALLOWANCE AND PAYMENT OF
                                                                   Debtors.           COMPENSATION AND
                                 21                                                   REIMBURSEMENT OF EXPENSES FOR
                                       Affects PG&E Corporation                      THE PERIOD OF JANUARY 29, 2019
                                 22    Affects Pacific Gas and Electric Company      THROUGH APRIL 30, 2019
                                       Affects both Debtors
                                 23                                                    Date: September 25, 2019
                                                                                       Time: 9:30 am (Pacific Time)
                                      * All papers shall be filed in the Lead Case No. Place: United States Bankruptcy Court
                                 24
                                      19-30088 (DM).                                          Courtroom 17, 16th Floor
                                 25                                                           San Francisco, CA 94102

                                 26                                                   Objection Deadline: August 12, 2019 at 4:00
                                                                                      p.m. (Pacific Time)
                                 27

                                 28                                                 5

                                      Case: 19-30088     Doc# 3157      Filed: 07/23/19   Entered: 07/23/19 16:36:20       Page 5 of
                                                                                    24
                                  1           Simpson Thacher & Bartlett LLP (“Simpson Thacher”), as counsel for (i) the Board of

                                  2   Directors (the “Board”) of each of PG&E Corporation and Pacific Gas and Electric Company

                                  3   (the “Debtors”), as the Board may be constituted from time to time, and for the members of the

                                  4   Board from time to time in their capacities as members of the Board, and (ii) certain current and

                                  5   former independent directors in their individual capacities who serve or served as independent

                                  6   directors prior to and/or as of the Petition Date (as defined below) (each an “Independent

                                  7   Director” and collectively, the “Independent Directors”), pursuant to sections 330(a), 331 and

                                  8   363 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 2016 of the Federal

                                  9   Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), hereby submits its first interim

                                 10   application (this “Application”) for the allowance and payment of compensation for professional

                                 11   services performed in the amount of $1,931,632.00 and for reimbursement of actual and

                                      necessary expenses incurred in the amount of $16,579.35 for the period commencing January 29,
Simpson Thacher & Bartlett LLP




                                 12
                                      2019 through and including April 30, 2019 (the “Compensation Period”)3, and in support
     New York, NY 10017




                                 13
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                                 14   thereof, respectfully states as follows:

                                 15                                             Preliminary Statement

                                 16                    1.      Since January 29, 2019, and throughout the Compensation Period,

                                 17   Simpson Thacher has served as counsel for and has provided important and necessary legal

                                 18   advice to the Board and Independent Directors. Specifically, during the Compensation Period,

                                 19   Simpson Thacher has, among other things, provided representation and legal advice in

                                 20   connection with (i) these chapter 11 cases (the “Chapter 11 Cases”) and material aspects of the

                                 21   bankruptcy process; (ii) regulatory, judicial and other proceedings concerning the conduct of the

                                 22   Debtors, the Board or the Independent Directors; (iii) derivative shareholder and securities

                                 23   litigation and related issues; (iv) the exercise of the Board’s fiduciary duties, including with

                                 24   3
                                        Pursuant to the Interim Compensation Order, the initial interim compensation period was to include the period
                                      from the Petition Date (as defined below) through and including May 31, 2019. However, as of the date hereof,
                                 25   Simpson Thacher has not yet filed a Monthly Fee Statement (as defined below) for the calendar month of May 2019.
                                      Accordingly, the Compensation Period for this Application includes the period from the Petition Date through and
                                 26   including April 30, 2019. Fees and expenses incurred by Simpson Thacher for the month of May 2019 will be
                                      included in the next interim fee application.
                                 27

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                                      Case: 19-30088         Doc# 3157        Filed: 07/23/19       Entered: 07/23/19 16:36:20            Page 6 of
                                                                                          24
                                  1   respect to maximizing the value of the Debtors’ estates for all stakeholders; (v) director liability

                                  2   insurance and indemnification matters; (vi) the appointment of new directors to the Board; (vii)

                                  3   the review of disclosures to be made with the Securities and Exchange Commission (the “SEC”);

                                  4   (viii) director and officer compensation matters; and (ix) general corporate governance matters.

                                  5                  2.      Simpson Thacher’s advice to the Board and the Independent Directors and

                                  6   representation of them in connection with the aforementioned matters during the Compensation

                                  7   Period were of substantial benefit to the Board and the Independent Directors, and the

                                  8   professional services performed and expenses incurred in connection therewith were actual and

                                  9   necessary. Importantly, the Board is entitled to engage and retain advisors and experts they

                                 10   determine are necessary and appropriate to properly discharge their fiduciary duties to the

                                 11   Debtors. Moreover, Simpson Thacher has worked closely with the Debtors’ legal and financial

                                      advisors to ensure there has been no duplication of efforts with respect to legal matters affecting
Simpson Thacher & Bartlett LLP




                                 12
                                      the Debtors. In light of the size and complexity of these Chapter 11 Cases, Simpson Thacher’s
     New York, NY 10017




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                                 14   fees for services rendered and incurred expenses are reasonable under the applicable standards as

                                 15   set forth in more detail herein. Simpson Thacher therefore respectfully requests that the Court

                                 16   grant this Application and allow interim compensation for professional services performed and

                                 17   reimbursement for expenses as requested herein.

                                 18                  3.      This Application has been prepared in accordance with and submitted

                                 19   pursuant to the sections 105, 330(a), 331 and 363 of title 11 of the Bankruptcy Code, Bankruptcy

                                 20   Rule 2016, the Local Bankruptcy Rules for the Northern District of California (the “Local

                                 21   Rules”), the Order Pursuant to 11 U.S.C. §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for

                                 22   Authority to Establish Procedures for Interim Compensation and Reimbursement of Expenses of

                                 23   Professionals dated February 27, 2019 [Docket No. 701] (the “Interim Compensation

                                 24   Order”), the Guidelines for Compensation and Expense Reimbursement of Professionals and

                                 25   Trustees for the Northern District of California effective February 19, 2014 (the “Local

                                 26   Guidelines”) and the U.S. Trustee Guidelines for Reviewing Applications for Compensation and

                                 27   Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

                                 28                                                     7

                                      Case: 19-30088      Doc# 3157       Filed: 07/23/19     Entered: 07/23/19 16:36:20         Page 7 of
                                                                                      24
                                  1   Cases, effective November 1, 2013 (the “UST Guidelines” and, together with the Local

                                  2   Guidelines, collectively, the “Fee Guidelines”).

                                  3                  4.     The Interim Compensation Order provides that professionals file a

                                  4   Monthly Fee Statement or a Consolidated Monthly Fee Statement (each as defined in the Interim

                                  5   Compensation Order) and serve it upon certain designated notice parties. If there is no objection

                                  6   within twenty-one (21) days after service of the Monthly Fee Statement or Consolidated Monthly

                                  7   Fee Statement, the Debtor is authorized to pay 80% of the fees (with the remaining 20% of the

                                  8   fees requested referred to herein as the “Holdback Amount”) and 100% of the expenses

                                  9   requested. On June 28, 2019, Simpson Thacher filed and served a Consolidated Monthly Fee

                                 10   Statement (the “First Consolidated Monthly Fee Statement”) for the months covered by the

                                 11   Compensation Period [Docket No. 2786]. In the First Consolidated Monthly Fee Statement,

                                      Simpson Thacher requested $1,545,305.60 (80% of total fees, of which $1,240,607.60 was in
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                                 12
                                      respect of representation of the Board under section 327(e) and $304,698.00 was in respect of
     New York, NY 10017




                                 13
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                                 14   representation of the Independent Directors under section 363) as compensation for professional

                                 15   services and $16,579.35 (100% of expenses, of which of which $750.82 was in respect of

                                 16   representation of the Board under section 327(e) and $15,828.53 was in respect of representation

                                 17   of the Independent Directors under section 363) as reimbursement for actual and necessary

                                 18   expenses, and the Holdback Amount was $386,326.40 (20% of total fees). The deadline for

                                 19   objections to the First Consolidated Monthly Fee Statement passed on July 19, 2019, and no

                                 20   objections were filed. Consistent with the Interim Compensation Order, Simpson Thacher

                                 21   currently seeks interim approval for the allowance and payment (to the extent not paid prior to

                                 22   the hearing on this Application) of all outstanding amounts requested under the First

                                 23   Consolidated Monthly Fee Statement, including the Holdback Amount, subject to final review

                                 24   and approval when Simpson Thacher submits its final fee application in these Chapter 11 Cases.

                                 25                                             Jurisdiction

                                 26

                                 27

                                 28                                                      8

                                      Case: 19-30088      Doc# 3157      Filed: 07/23/19     Entered: 07/23/19 16:36:20       Page 8 of
                                                                                     24
                                  1                  5.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

                                  2   §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

                                  3   before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                  4                                              Background

                                  5                  6.      On January 29, 2019 (the “Petition Date”), each of the Debtors filed a

                                  6   petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are authorized to

                                  7   continue to operate their businesses as debtors in possession pursuant to sections 1107(a) and

                                  8   1108 of the Bankruptcy Code. The Debtors’ cases are being jointly administered for procedural

                                  9   purposes only pursuant to Bankruptcy Rule 1015.

                                 10                  7.      On February 12, 2019, the Acting United States Trustee for Region 3 (the

                                 11   “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors [Docket No. 409].

                                      On February 15, 2019, the U.S. Trustee appointed the Official Committee of Tort Claimants
Simpson Thacher & Bartlett LLP




                                 12
                                      [Docket No. 453].
     New York, NY 10017




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                                 14                  8.      Additional information regarding the events leading to these chapter 11

                                 15   cases is set forth in the Amended Declaration of Jason P. Wells in Support of First Day Motions

                                 16   and Related Relief [Docket No. 263].

                                 17                  9.      Simpson Thacher was first engaged to represent the Independent Directors

                                 18   in December 2017 to (i) provide legal advice regarding legislation concerning dividends and

                                 19   related issues, (ii) represent the Independent Directors regarding alleged breaches of fiduciary

                                 20   duties and other claims arising out of the 2017 and 2018 wildfires and (iii) advise the

                                 21   Independent Directors in connection with a number of ongoing litigations and inquiries.

                                 22                  10.     On April 2, 2019, the Debtors filed an application to retain Simpson

                                 23   Thacher as counsel for the Independent Directors under section 363 of the Bankruptcy Code (the

                                 24   “Retention Application”). After the filing of the Retention Application, Simpson Thacher was

                                 25   also asked to represent the Board and the members of the Board from time to time in their

                                 26   capacities as members of the Board. The U.S. Trustee then requested that the retention of

                                 27   Simpson Thacher to represent the Board be approved under section 327(e) of the Bankruptcy

                                 28                                                    9

                                      Case: 19-30088       Doc# 3157     Filed: 07/23/19     Entered: 07/23/19 16:36:20         Page 9 of
                                                                                     24
                                  1   Code. See Supplemental Declaration of Michael H. Torkin in Support of the Motion Pursuant to

                                  2   11 U.S.C. §363 Authorizing Debtors to Pay the Fees and Expenses of Simpson Thacher &

                                  3   Bartlett LLP as Counsel to the Independent Directors of PG&E Corp. (as Modified as Described

                                  4   Herein) [Docket No. 1802] (the “STB Retention Declaration”). The Retention Application, as

                                  5   modified, was approved by this Court on May 10, 2019 [Docket No. 1979] (the “Retention

                                  6   Order”). The Retention Order is attached hereto as Exhibit A.

                                  7                  11.    The Retention Order authorizes the Debtors to employ and retain Simpson

                                  8   Thacher nunc pro tunc to January 29, 2019 as attorneys for the Board and Independent Directors

                                  9   in accordance with Simpson Thacher’s normal hourly rates and disbursement policies, as

                                 10   described in the Retention Application. Further, the Retention Order authorizes the Debtors, (i)

                                 11   pursuant to section 327(e) of the Bankruptcy Code, to pay the reasonable fees of, and reimburse

                                      the reasonable and necessary expenses incurred by, Simpson Thacher in connection with the
Simpson Thacher & Bartlett LLP




                                 12
                                      Board Representation (as defined in the Retention Order), including with respect to “all matters
     New York, NY 10017




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      425 Lexington Ave




                                 14   related to corporate governance” and “other related matters”; and (ii) pursuant to section 363, to

                                 15   pay the reasonable fees of, and reimburse the reasonable and necessary expenses incurred by,

                                 16   Simpson Thacher in connection the Independent Director Representation (as defined in the

                                 17   Retention Order), including with respect to “representation in ongoing litigation and regulatory

                                 18   inquiries, including matters involving the California Public Utilities Commission,” “fact-

                                 19   gathering,” and “related matters.”

                                 20                  12.    On June 28, 2019, Simpson Thacher filed and served the First

                                 21   Consolidated Monthly Fee Statement seeking payment of $1,545,305.60 (excluding the

                                 22   Holdback Amount of $386,326.40) as compensation for professional services rendered and

                                 23   $16,579.35 as reimbursement for actual and necessary expenses incurred for the months covered

                                 24   by the Compensation Period. The deadline for objections to the First Consolidated Monthly Fee

                                 25   Statement was July 19, 2019. As of the date of this Application, no portion of the amounts

                                 26   requested in the First Consolidated Monthly Fee Statement has yet been paid to Simpson

                                 27   Thacher.

                                 28                                                   10

                                      Case: 19-30088       Doc# 3157       Filed: 07/23/19    Entered: 07/23/19 16:36:20       Page 10
                                                                                     of 24
                                  1                             Summary of Professional Compensation
                                                               and Reimbursement of Expenses Requested
                                  2
                                                     13.      Simpson Thacher seeks the interim allowance and payment of
                                  3

                                  4   compensation for professional services performed during the Compensation Period in the amount

                                  5   of $1,931,632.00, including the Holdback Amount of $386,326.40. Of the total amount of

                                  6   compensation requested, $1,550,759.50 is being requested in connection with Simpson
                                  7
                                      Thacher’s Independent Director Representation pursuant to section 363 of the Bankruptcy Code,
                                  8
                                      and $380,872.50 is being requested in connection with Simpson Thacher’s Board Representation
                                  9
                                      pursuant to section 327(e) of the Bankruptcy Code.
                                 10
                                                     14.    There is no agreement or understanding between Simpson Thacher and
                                 11
Simpson Thacher & Bartlett LLP




                                 12   any other person, other than members of the firm, for the sharing of compensation to be received
     New York, NY 10017




                                 13   for services rendered in these Chapter 11 Cases. No payments have heretofore been made or
      425 Lexington Ave




                                 14   promised to Simpson Thacher for services rendered or to be rendered in any capacity whatsoever
                                 15
                                      in connection with these Chapter 11 Cases.
                                 16
                                                     15.    The fees charged by Simpson Thacher in these cases are billed in
                                 17
                                      accordance with Simpson Thacher’s normal and existing billing rates and procedures in effect
                                 18

                                 19   during the Compensation Period. The rates charged by Simpson Thacher for professional and

                                 20   paraprofessional services in these Chapter 11 Cases are the same rates that Simpson Thacher

                                 21   charges for comparable bankruptcy and non-bankruptcy representations, are the same rates of
                                 22   other comparably skilled professionals. Such fees are reasonable based on the customary
                                 23
                                      compensation by comparably skilled practitioners in comparable bankruptcy and non-bankruptcy
                                 24
                                      cases in a competitive national legal market.
                                 25
                                                     16.    Attached hereto as Exhibit B is a certification regarding Simpson
                                 26

                                 27   Thacher’s compliance with the Fee Guidelines.

                                 28                                                   11

                                      Case: 19-30088       Doc# 3157      Filed: 07/23/19   Entered: 07/23/19 16:36:20         Page 11
                                                                                    of 24
                                  1                  17.     Attached hereto as Exhibit C is a summary and comparison of the
                                  2   aggregate blended hourly rates billed by Simpson Thacher’s timekeepers in all domestic offices
                                  3
                                      to non-bankruptcy matters during the preceding year on a rolling 12 months year ending June 30,
                                  4
                                      2019 and the blended hourly rates billed to the Debtors during the Compensation Period.
                                  5
                                                     18.     With respect to the Independent Director Representation, Simpson
                                  6

                                  7   Thacher discussed its rates, fees and staffing with the Independent Directors and Debtors at the

                                  8   outset of these Chapter 11 Cases. A summary of Simpson Thacher’s budget is attached hereto as

                                  9   Exhibit D. Simpson Thacher estimated its fees for the Compensation Period in connection with
                                 10   the Independent Director Representation would be approximately $3,142,000, and the fees
                                 11
                                      sought for the Compensation Period less than that estimate.
Simpson Thacher & Bartlett LLP




                                 12
                                                     19.     With respect to the Board Representation, professional services were or
     New York, NY 10017




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                                      are being provided on the basis of specific assignments, and accordingly no budget was prepared.
                                 14

                                 15   However, as set forth in the Retention Motion and the STB Retention Declaration, Simpson

                                 16   Thacher’s rates, fees and staffing for the Board Representation are the same as those used in

                                 17   connection with the Independent Director Representation. Simpson Thacher will prepare a
                                 18
                                      budget in connection with the Board Representation if the Board so requests.
                                 19
                                                     20.     The attorneys and paraprofessionals assigned to this matter were necessary
                                 20
                                      to assist with the Board’s and Independent Directors’ exercise of their fiduciary duties to the
                                 21
                                      Debtors, the preservation of the Debtors’ estates, and the other matters described herein. The
                                 22

                                 23   Debtors are aware of the complexities of these cases, the number of issues to be addressed, the

                                 24   various disciplines and specialties involved in Simpson Thacher’s representation, and the number

                                 25   of factors arising in these cases impacting staffing needs. Simpson Thacher has coordinated
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                                      Case: 19-30088       Doc# 3157      Filed: 07/23/19     Entered: 07/23/19 16:36:20        Page 12
                                                                                    of 24
                                  1   closely with the Debtors’ professionals to ensure there has been no duplication of efforts with
                                  2   respect to any legal matters impacting the Debtors in or outside of these Chapter 11 Cases.
                                  3
                                                     21.     The compensation and fees sought are reflected in the First Consolidated
                                  4
                                      Monthly Fee Statement and are set forth therein and in Exhibits E, F and H. Exhibit E attached
                                  5
                                      hereto sets forth: (a) the name of each professional and paraprofessional who rendered services
                                  6

                                  7   and his or her area of practice; (b) whether each professional is a partner, counsel, associate or

                                  8   paraprofessional in the firm; (c) the year that each professional was licensed to practice law; (d)

                                  9   the number of hours of services rendered by each professional and paraprofessional; and (e) the
                                 10   hourly rate charged by Simpson Thacher for the services of each professional and
                                 11
                                      paraprofessional. Exhibit F contains a summary of Simpson Thacher’s hours billed using
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                                 12
                                      project categories (or “task codes”) described therein. Exhibit H sets forth the detailed time
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                                      entries by Simpson Thacher partners, counsel, associates and paraprofessionals,
                                 14

                                 15   contemporaneously recorded in increments of one-tenth of an hour. Simpson Thacher also

                                 16   maintains computerized records of the time spent by all Simpson Thacher attorneys and

                                 17   paraprofessionals in connection with these Chapter 11 Cases. Copies of these computerized
                                 18
                                      records in LEDES format have been furnished to the Debtors, counsel for each of the
                                 19
                                      Committees, the U.S. Trustee and the Fee Examiner in the format specified in the Fee
                                 20
                                      Guidelines.
                                 21
                                                     22.     Simpson Thacher also hereby requests reimbursement of $16,579.35 for
                                 22

                                 23   actual and necessary costs and expenses incurred in rendering services to the Board and

                                 24   Independent Directors. Of the total amount of costs and expenses sought, $15,828.53 is being
                                 25   requested for reimbursement in connection with Simpson Thacher’s Independent Director
                                 26
                                      Representation pursuant to section 363 of the Bankruptcy Code, and $750.82 is being requested
                                 27

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                                      Case: 19-30088       Doc# 3157       Filed: 07/23/19     Entered: 07/23/19 16:36:20        Page 13
                                                                                     of 24
                                  1   for reimbursement in connection with Simpson Thacher’s Board Representation pursuant to
                                  2   section 327(e) of the Bankruptcy Code. The costs and expenses sought are described in the First
                                  3
                                      Consolidated Monthly Fee Statement and are set forth therein and in Exhibit G which sets forth
                                  4
                                      a summary of costs and expenses incurred during the Compensation Period, and Exhibit I,
                                  5
                                      which sets forth an itemized schedule of all such costs and expenses.
                                  6

                                  7                    23.      To the extent that time or disbursement charges for services rendered or

                                  8   disbursements incurred relate to the Compensation Period, but were not processed prior to the

                                  9   preparation of this Application, Simpson Thacher reserves the right to request compensation for
                                 10   such services and reimbursement of such expenses in a future application.
                                 11
                                                              Summary of Services Performed by Simpson Thacher
Simpson Thacher & Bartlett LLP




                                 12                                   During the Compensation Period
     New York, NY 10017




                                 13                    24.      As described above, during the Compensation Period, Simpson Thacher
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                                 14   rendered substantial professional services to the Board and Independent Directors in connection
                                 15
                                      with ongoing litigation, the exercise of their fiduciary duties to the Debtors and their
                                 16
                                      stakeholders, the protection of the Board’s and Independent Directors’ interests and other matters
                                 17
                                      relating to these Chapter 11 Cases. The following is a summary of the professional services
                                 18
                                      rendered by Simpson Thacher during the Compensation Period, organized in accordance with
                                 19

                                 20   Simpson Thacher’s internal system of task codes.4

                                 21                          a. Corporate Governance and Board Matters (Task Code: BFG)
                                                                Fees: $703,415.00; Total Hours: 540.70
                                 22

                                 23                                  i. Attended and provided legal advice during in-person and
                                                                        telephonic Board, committee and sub-committee meetings, and
                                 24                                     prepared presentations and minutes of meetings;

                                 25
                                      4
                                 26     Certain services rendered may overlap between more than one task code. If a task code does not appear below,
                                      then Simpson Thacher did not bill significant, if any, time to that task code during the Compensation Period.
                                 27

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                                      Case: 19-30088          Doc# 3157        Filed: 07/23/19        Entered: 07/23/19 16:36:20             Page 14
                                                                                         of 24
                                  1                           ii. Engaged in discussions, advised on strategy and process and
                                                                  conducted diligence in connection nominations and appointments
                                  2                               of new Directors in connection with Board refreshment process;
                                  3                          iii. Advised in connection with Directors & Officers insurance issues,
                                  4                               including reviewing current policies and preparing overviews and
                                                                  analyses, assessing proposed policies, engaging in negotiations
                                  5                               with insurance providers and discussions with risk management
                                                                  personnel regarding policy terms and conditions, and procuring a
                                  6                               Directors & Officers liability insurance policy, as approved by the
                                                                  Court on July 11, 2019 [Docket No. 2927];
                                  7

                                  8                          iv. Prepared for and engaged in meetings with California Public
                                                                 Utilities Commission;
                                  9
                                                              v. Conducted legal and factual research, prepared presentations and
                                 10                              other written materials, and participated in calls and meetings
                                                                 regarding numerous issues including Director compensation,
                                 11                              fiduciary duties, insurance coverage, and the bankruptcy process,
                                                                 including settlement with public utilities; and
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                                 12
                                                             vi. Reviewed and commented on various SEC filings.
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                                 14                    b. Court Hearings (Task Code: BCH)
                                                          Fees: $11,377.50; Total Hours: 9.10
                                 15
                                                              i. Prepared for and attended first-day hearing and follow-up omnibus
                                 16                              hearings and provided advice regarding appropriate course of
                                                                 action thereafter.
                                 17
                                                       c. Employee Benefits/Pensions (Task Code: BEE)
                                 18
                                                          Fees: $9,056.50; Total Hours: 5.90
                                 19
                                                              i. Reviewed public disclosures and director compensation plans,
                                 20                              prepared summaries of compensation materials, communicated
                                                                 with Board in written correspondence and in meetings and
                                 21                              provided advice regarding compensation issues.
                                 22                    d. Fee/Employment Applications (Task Code: BFA)
                                                          Fees: $136,955.50; Total Hours: 124.70
                                 23

                                 24                           i. Sought and obtained Court approval of the retention of Simpson
                                                                 Thacher, including drafting written materials in support thereof,
                                 25                              and modifying terms of retention for the Board Representation as
                                                                 requested by the U.S. Trustee;
                                 26

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                                      Case: 19-30088    Doc# 3157      Filed: 07/23/19    Entered: 07/23/19 16:36:20        Page 15
                                                                                 of 24
                                  1                             ii. Reviewed all applicable fee guidelines and prepared internal
                                                                    system and coding as necessary for retention and billing matters in
                                  2                                 connection with these Chapter 11 Cases;
                                  3                       e. Fact Investigation & Development (Task Code: L110)
                                  4                          Fees: $984,380.50; Total Hours: 1,247

                                  5                              i. Conducted fact analysis in connection with prepetition litigation
                                                                    matters, including preparing document requests, conducting
                                  6                                 document review, preparing written summaries and analysis work
                                                                    product and communicating with Independent Directors regarding
                                  7                                 analysis and review.
                                  8
                                                          f. Analysis & Strategy (Task Code: L120)
                                  9                          Fees: $67,176.50; Total Hours: 67.50

                                 10                              i. Conducted legal research in connection with prepetition litigation
                                                                    matters;
                                 11
                                                                ii. Reviewed and analyzed case filings in prepetition litigation matters
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                                 12                                 and prepared written analysis work product regarding case status
                                                                    and strategies;
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                                 14                             iii. Drafted various court submissions in connection with prepetition
                                                                     litigation, including to stay such proceedings; and
                                 15
                                                                iv. Coordinated with other counsel in prepetition litigation regarding
                                 16                                 scheduling, stipulations and strategy.
                                 17                       g. Pre-Trial Pleadings and Motions (Task Code: L200)
                                                             Fees: $3,824.50; Total Hours: 6.20
                                 18
                                                                 i. Reviewed case dockets and filings and coordinated regarding case
                                 19
                                                                    administration; and drafted various administrative motions.
                                 20
                                                          h. eDiscovery (Task Codes: L620, L630, L650 and L653)
                                 21                          Fees: $7,670.00; Total Hours: 20.90

                                 22                              i. Coordinated and conducted document review in connection with
                                                                    prepetition litigation, including document collection, processing
                                 23                                 and review.
                                 24                 25.      The foregoing is merely a summary of the professional services rendered
                                 25
                                      by Simpson Thacher during the Compensation Period. The professional services performed by
                                 26
                                      Simpson Thacher were necessary and appropriate to the representation of the Board and
                                 27

                                 28                                                   16

                                      Case: 19-30088       Doc# 3157      Filed: 07/23/19    Entered: 07/23/19 16:36:20       Page 16
                                                                                    of 24
                                  1   Independent Directors, including in connection with these Chapter 11 Cases, and were in the best
                                  2   interests of the Board, the Independent Directors and the Debtors and their estates. The services
                                  3
                                      provided by Simpson Thacher to the Board and Independent Directors were separate from and
                                  4
                                      not duplicative of any of the services provided to the Debtors by their professionals. The
                                  5
                                      compensation requested for Simpson Thacher’s services is commensurate with the complexity,
                                  6

                                  7   importance and nature of the issues and tasks involved.

                                  8                  26.     The professional services rendered by partners, counsel and associates of

                                  9   Simpson Thacher were rendered primarily by the Litigation, Corporate, Executive Compensation
                                 10   and Executive Benefits, and Bankruptcy and Restructuring Departments. Simpson Thacher has
                                 11
                                      an esteemed and nationally recognized reputation for its expertise in these fields, particularly in
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                                 12
                                      connection with the representation of boards of directors in challenging and complex matters.
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                                                     27.     During the Compensation Period, a total of 2027.90 hours were expended
                                 14

                                 15   by attorneys and paraprofessionals at Simpson Thacher in connection with the aforementioned

                                 16   services performed. 1709.6 hours were spent on the Independent Director Representation

                                 17   pursuant to section 363 of the Bankruptcy Code, and 318.3 hours were spent on the Board
                                 18
                                      Representation pursuant to section 327(e) of the Bankruptcy Code. In the aggregate, the partners
                                 19
                                      of Simpson Thacher accounted for 600.60 hours (approximately 30% of time), senior counsel,
                                 20
                                      counsel and associates accounted for 1,370.60 hours (approximately 67% of time), and
                                 21
                                      paraprofessionals and miscellaneous timekeepers accounted for 56.70 hours (approximately 3%
                                 22

                                 23   of time).

                                 24                  28.     During the Compensation Period, Simpson Thacher billed for time

                                 25   expended by attorneys based on hourly rates ranging from $590 to $1,640 per hour for attorneys.
                                 26
                                      Allowance for compensation in the amount requested herein would result in a blended hourly
                                 27

                                 28                                                    17

                                      Case: 19-30088       Doc# 3157      Filed: 07/23/19     Entered: 07/23/19 16:36:20         Page 17
                                                                                    of 24
                                  1   rate for attorneys of approximately $969, and a blended rate for all professionals and
                                  2   paraprofessionals of approximately $952.53.
                                  3
                                                        Actual and Necessary Disbursements of Simpson Thacher
                                  4
                                                     29.     Simpson Thacher has disbursed $16,579.35 as expenses incurred in
                                  5
                                      providing professional services during the Compensation Period. These expenses were
                                  6

                                  7   reasonable and necessary and were essential to, among other things, participate in necessary

                                  8   meetings or hearings, timely respond to client or counsel inquiries and provide effective

                                  9   representation in ongoing regulatory and litigation-related matters. The costs and expenses are
                                 10   not incorporated into Simpson Thacher’s hourly billing rates because it is Simpson Thacher’s
                                 11
                                      policy to charge such costs and expenses to those clients requiring such expenditures in
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                                 12
                                      connection with the services rendered to them.
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                                                     30.     Consistent with firm policy, attorneys and other employees of Simpson
                                 14

                                 15   Thacher who worked late into the evenings or on weekends were reimbursed for their reasonable

                                 16   meal costs and their cost for transportation home from the office. The amounts for which

                                 17   Simpson Thacher is seeking reimbursement for reasonable meal and transportation costs are
                                 18
                                      consistent with the local practice for comparable cases filed in the Southern District of New
                                 19
                                      York and District of Delaware.
                                 20
                                                     31.     With respect to photocopying and duplicating expenses, reimbursement
                                 21
                                      for costs is at a rate of $.20 per page, consistent with the Fee Guidelines. Computer-assisted
                                 22

                                 23   legal research is charged at actual cost. Only clients who use services of the types set forth in

                                 24   Exhibits G and I are separately charged for such services.
                                 25

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                                      Case: 19-30088       Doc# 3157      Filed: 07/23/19     Entered: 07/23/19 16:36:20          Page 18
                                                                                    of 24
                                  1                  32.         Simpson Thacher has made every effort to minimize its disbursements in
                                  2   these Chapter 11 Cases. The actual expenses incurred in providing professional services were
                                  3
                                      reasonable, necessary and justified under the circumstances.
                                  4
                                                  Basis for Allowance of Requested Compensation and Reimbursement
                                  5
                                                     33.         With respect to the Board Representation, section 331 of the Bankruptcy
                                  6

                                  7   Code provides for the interim compensation of professionals pursuant to the standards set forth

                                  8   in section 330 governing the Court’s award of any such compensation. 11 U.S.C. § 331. Section

                                  9   330 provides that a professional employed under section 327 of the Bankruptcy Code may be
                                 10   awarded “reasonable compensation for actual, necessary services rendered [and] reimbursement
                                 11
                                      for actual, necessary expenses.” 11 U.S.C. § 330(a)(1).
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                                 12
                                                     34.         Section 330 further provides that, “[i]n determining the amount of
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                                      reasonable compensation to be awarded to [a] professional person, the court shall consider the
                                 14

                                 15   nature, the extent and the value of such services, taking into account” the following factors:

                                 16                        a. Time spent on the services performed;

                                 17                        b. Rates charged for the services performed;
                                 18                        c. Whether the services performed were necessary to the
                                                              administration of, or beneficial at the time at which the
                                 19                           service was rendered toward the completion of the
                                 20                           applicable chapter 11 case;

                                 21                        d.     Whether the services were performed in a reasonable
                                                                 amount of time “commensurate with the complexity,
                                 22                              importance, and nature of the problem, issue, or task
                                                                 addressed”;
                                 23
                                                           e. Whether the professional is board certified or otherwise has
                                 24
                                                              demonstrated skill and experience in bankruptcy; and
                                 25
                                                           f. Whether the compensation is reasonable based on the
                                 26                           customary compensation charged by comparably skilled
                                                              practitioners in cases other than chapter 11 cases.
                                 27

                                 28                                                      19

                                      Case: 19-30088            Doc# 3157     Filed: 07/23/19    Entered: 07/23/19 16:36:20       Page 19
                                                                                        of 24
                                  1                  35.     With respect to the Independent Director Representation, section 363 of
                                  2   the Bankruptcy Code applies. Section 363(b) of the Bankruptcy Code provides that a debtor in
                                  3
                                      possession “after notice and a hearing, may use, sell or lease, other than in the ordinary course of
                                  4
                                      business, property of the estate.” 11 U.S.C. § 363. In considering whether to approve use of
                                  5
                                      estate property under section 363(b), the bankruptcy judge examines whether there is a sound
                                  6

                                  7   business purpose for the proposed use and in doing so, “should consider all salient factors

                                  8   pertaining to the proceeding and, accordingly, act to further the diverse interests of the debtor,

                                  9   creditors and equity holders, alike.” Walter v. Sunwest Bank (In re Walter), 83 B.R. 14, 19 (9th
                                 10   Cir. BAP 1988). Courts have found business justification for and approved the payment of fees
                                 11
                                      and expenses of counsel for a debtor’s independent directors pursuant to section 363. See, e.g.,
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                                 12
                                      In re SunEdison, Inc., No. 16-10992 (SMB) (Bankr. S.D.N.Y. July 13, 2016) [ECF No. 764]; In
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                                      re Sabine Oil & Gas Corp., No. 15-11835 (SCC) (Bankr. S.D.N.Y. Nov. 5, 2015) [ECF No.
                                 14

                                 15   485]. The Debtors explained in the Retention Motion that (i) the Debtors’ Articles of

                                 16   Incorporation and board resolutions authorize the payment of the fees and expenses of

                                 17   professionals for the Independent Directors, and (ii) it is common for a company the size of the
                                 18
                                      Debtors to engage and pay for separate counsel to provide independent advice to its directors,
                                 19
                                      and asserted that the retention of Simpson Thacher’ by the Board and the payment of its
                                 20
                                      reasonable fees and expenses were an exercise of the Debtor’s sound business judgment.
                                 21
                                                     36.     Simpson Thacher submits that the services for which it seeks
                                 22

                                 23   compensation and the expenditures for which it seeks reimbursement in this Application were

                                 24   necessary for and beneficial to, among other things, the Board’s and the Independent Directors’

                                 25   exercise of their fiduciary duties, the need for the Board and Independent Directors to continue
                                 26
                                      receiving objective and independent legal advice, and the protection of their interests in these
                                 27

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                                      Case: 19-30088       Doc# 3157       Filed: 07/23/19     Entered: 07/23/19 16:36:20        Page 20
                                                                                     of 24
                                  1   unique and challenging circumstances. Specifically, during the Compensation Period, Simpson
                                  2   Thacher has represented and advised the Board and Independent Directors in connection with (i)
                                  3
                                      these Chapter 11 Cases and key aspects of the bankruptcy process, including the proposed
                                  4
                                      settlement with public entities; (ii) regulatory, judicial and other proceedings concerning the
                                  5
                                      conduct of the Debtors, the Board or the Independent Directors; (iii) derivative shareholder and
                                  6

                                  7   securities litigation and related issues; (iv) the exercise of the Board’s and the Independent

                                  8   Directors’ fiduciary duties to the Debtors and their stakeholders; (v) director liability and

                                  9   indemnification matters, including procuring a Directors & Officers liability insurance policy, as
                                 10   approved by the Court on July 11, 2019 [Docket No. 2927]; (vi) the appointment of new
                                 11
                                      directors to the Board; (vii) the formation of board committees; (viii) director and officer
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                                 12
                                      compensation matters and (ix) general corporate governance matters applicable to the board of
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                                      directors and management. Additionally, during the Compensation Period, Simpson Thacher
                                 14

                                 15   reviewed and advised on SEC disclosures; attended and provided legal advice during in-person

                                 16   and telephonic board and committee meetings; reviewed and commented on various pleadings

                                 17   and motions filed in connection with, among other things, the categories listed in this paragraph
                                 18
                                      34, and advised the Board and Independent Directors on appropriate courses of action; and
                                 19
                                      drafted or participated in the drafting of all necessary motions, applications, stipulations, orders,
                                 20
                                      responses and other papers in support of the positions or interests of the Board and Independent
                                 21
                                      Directors.
                                 22

                                 23                  37.     Simpson Thacher not only has extensive experience in representing

                                 24   directors in such complex situations, but it also had an established history with the Independent

                                 25   Directors prior to the Petition Date regarding many of the matters referenced herein. The
                                 26
                                      compensation and reimbursement requested herein are reasonable in light of the nature, extent
                                 27

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                                      Case: 19-30088       Doc# 3157       Filed: 07/23/19     Entered: 07/23/19 16:36:20         Page 21
                                                                                     of 24
                                  1   and value of such services to the Board and Independent Directors, and accordingly, should be
                                  2   approved.
                                  3
                                                                                Notice and Objections
                                  4
                                                       38.     Notice of this Application has been provided to parties in interest (the
                                  5
                                      “Notice Parties”) in accordance with the Interim Compensation Order, and a joint notice of
                                  6

                                  7   hearing on this Application and other interim compensation applications will be filed by the

                                  8   Debtors with this Court and served upon all parties that have requested notice in these chapter 11

                                  9   cases pursuant to Bankruptcy Rule 2002. Such notice is sufficient and no other or further notice
                                 10   need be provided.
                                 11
                                                       39.     In accordance with the Interim Compensation Order, responses and
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                                 12
                                      objections to this Application, if any, must be filed and served on Simpson Thacher and the
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                                      Notice Parties on or before 4:00 pm on the 20th day (or the next business day if such day is not a
                                 14

                                 15   business day) following the date this Application is served.

                                 16                                                    Conclusion

                                 17                    40.     Simpson Thacher respectfully requests that the Court enter an Order (i)
                                 18
                                      allowing on an interim basis Simpson Thacher’s compensation for professional services rendered
                                 19
                                      during the Compensation Period in the amount of $1,931,632.00, consisting of the $1,545,305.60
                                 20
                                      requested in the First Consolidated Monthly Fee Statement and the $386,326.40 Holdback
                                 21
                                      Amount, and reimbursement for actual and necessary costs and expenses incurred during the
                                 22

                                 23   Compensation Period in the amount of $16,579.35,5 and that such allowance be without

                                 24

                                 25   5
                                       As noted above, the objection deadline with respect to Simpson Thacher’s First Consolidated Monthly Fee
                                      Statement was July 19, 2019. The deadline passed without objection, and Simpson Thacher expects that the Debtors
                                 26   will promptly remit $1,545,305.60 in compensation for 80% of fees and $16,579.35 in reimbursement of 100% of
                                      expenses
                                 27

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                                      Case: 19-30088         Doc# 3157         Filed: 07/23/19       Entered: 07/23/19 16:36:20            Page 22
                                                                                         of 24
                                  1   prejudice to Simpson Thacher’s rights to seek additional compensation for services performed
                                  2   and expenses incurred during the Compensation Period that were not processed in time to be
                                  3
                                      included in this Application, if any, and (ii) grant such other and further relief and this Court
                                  4
                                      deems just.
                                  5
                                                                                         Respectfully submitted,
                                  6    Dated: July 23, 2019
                                  7
                                                                                         /s/ Jonathan C. Sanders
                                  8                                                      Jonathan C. Sanders
                                                                                         Michael H. Torkin
                                  9                                                      Nicholas Goldin
                                                                                         Kathrine A. McLendon
                                 10                                                      Jamie J. Fell
                                 11
                                                                                         SIMPSON THACHER & BARTLETT LLP
Simpson Thacher & Bartlett LLP




                                 12
                                                                                         Counsel for the Board of Each of PG&E
     New York, NY 10017




                                 13                                                      Corporation and Pacific Gas and Electric
      425 Lexington Ave




                                                                                         Company and for Certain Current and Former
                                 14                                                      Independent Directors
                                 15

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                                      Case: 19-30088       Doc# 3157       Filed: 07/23/19     Entered: 07/23/19 16:36:20         Page 23
                                                                                     of 24
                                  1                                         NOTICE PARTIES

                                  2   PG&E Corporation
                                      c/o Pacific Gas & Electric Company
                                  3   77 Beale Street
                                      San Francisco, CA 94105
                                  4   Attn: Janet Loduca, Esq.

                                  5   Weil Gotshal & Manges
                                      767 Fifth Avenue
                                  6   New York, NY 10153-0119
                                      Attn: Stephen Karotkin, Esq.,
                                  7   Rachael Foust, Esq.

                                  8   Keller & Benvenutti LLP
                                      650 California Street, Suite 1900
                                  9   San Francisco, CA 94108
                                      Attn: Tobias S. Keller, Esq.,
                                 10   Jane Kim, Esq.

                                 11   The Office of the United States Trustee for Region 17
                                      450 Golden Gate Avenue, 5th Floor, Suite #05-0153
Simpson Thacher & Bartlett LLP




                                 12   San Francisco, CA 94102
                                      Attn: James L. Snyder, Esq.,
     New York, NY 10017




                                 13   Timothy Laffredi, Esq.
      425 Lexington Ave




                                 14   Milbank LLP
                                      55 Hudson Yards
                                 15   New York, NY 10001-2163
                                      Attn: Dennis F. Dunne, Esq.,
                                 16   Sam A. Khalil, Esq.

                                 17   Milbank LLP
                                      2029 Century Park East, 33rd Floor
                                 18   Los Angeles, CA 90067
                                      Attn: Paul S. Aronzon, Esq.,
                                 19   Gregory A. Bray, Esq.,
                                      Thomas R. Kreller, Esq.
                                 20
                                      Baker & Hostetler LLP
                                 21   11601 Wilshire Boulevard, Suite 1400
                                      Los Angeles, CA 90025-0509
                                 22   Attn: Eric Sagerman, Esq.,
                                      Cecily Dumas, Esq.
                                 23
                                      Bruce A. Markell
                                 24   541 N. Fairbanks Court, Suite 2200
                                      Chicago, IL 60611-3710
                                 25   bamexampge@gmail.com
                                      pge@legaldecoder.com
                                 26   traceygallegos@gmail.com

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                                      Case: 19-30088      Doc# 3157       Filed: 07/23/19     Entered: 07/23/19 16:36:20   Page 24
                                                                                    of 24
